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                                                      August 25, 2020


VIA ECF
Hon. Ronnie Abrams, U.S.D.J.
United States District Court
Southern District of New York
40 Foley Square
New York, NY 10007

       Re:     Jennifer Eckhart and Cathy Areu v. Fox News Network, LLC, et al.
               Civil Action No. 20-cv-05593-RA

Dear Judge Abrams:

        On Friday, August 21, 2020, our firm was retained as substitute counsel to represent
plaintiff Cathy Areu (“Plaintiff Areu”) in the above-captioned action. A proposed Consent Order
Granting Substitution of Attorney, and accompanying Notices of Appearance, were filed by our
firm on August 24, 2020 (ECF Dkt Nos. 22-26). We write to request an extension of our time to
respond to a safe harbor notice that defendants Fox News Network, LLC, Sean Hannity, Tucker
Carlson, and Howard Kurtz (“Fox Defendants”) served upon Plaintiff Areu’s prior counsel
pursuant to Rule 11(c)(2) of the Federal Rules of Civil Procedure (the “Rule 11 Notice”) on or
about August 7, 2020. Plaintiff Areu’s deadline to respond to the Rule 11 Notice is currently
August 28, 2020. The parties have also been ordered to appear for an initial status conference by
telephone on August 28, 2020 at 10:00 a.m.

         The Rule 11 Notice identifies a number of purported deficiencies in the Complaint,
including, among other things, that the Court lacks jurisdiction over Plaintiff Areu’s claims. Given
that: (i) our firm was just retained, (ii) is gathering the information necessary to evaluate whether
to amend or withdraw the complaint in response to Defendants’ Rule 11 Notice, and (iii) is working
with Plaintiff Areu’s prior counsel to transfer the case file, we respectfully request an extension of
time until September 11, 2020 to respond to the Rule 11 Notice and to either amend or withdraw
the complaint.
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        Additionally, we request, assuming discovery will go forward following the initial
conference, that the proposed Case Management Plan filed on August 21, 2020 (Dkt No. 21) be
amended such that its dates run from the anticipated filing of Plaintiff Areu’s amended complaint
(if one is filed), as follows:

              Deadline for completing Initial Disclosures to be changed from no later than
               September 4, 2020 to no later than September 25, 2020 (14 days from the filing of
               Plaintiff Areu’s amended pleading, if any);

              Deadline for completing fact discovery to be changed from December 23, 2020 to
               January 11, 2020 (120 days from the filing of the amended pleading, if any);

              Service of initial requests for production of documents to be changed from
               September 4, 2020 to September 25, 2020 (14 days from the filing of the amended
               pleading, if any);

              Service of interrogatories to be changed from September 4, 2020 to September 25,
               2020 (14 days from the filing of the amended pleading, if any);

              Completion of depositions to be changed from December 11, 2020 to December
               31, 2020;

              Service of requests to admit to be changed from December 18, 2020 to January 8,
               2021;

              Completion of expert discovery to be changed from February 22, 2021 to March
               15, 2021;

              Completion of all discovery to be changed from February 22, 2021 to March 15,
               2021.


       We have conferred with all Parties concerning the foregoing, and their positions are as
follows:

      Plaintiff Eckhart’s counsel (Wigdor LLP, former counsel for Plaintiff Areu) has consented
       to our request for additional time to respond to Defendants’ Rule 11 Notice and, similarly,
       does not wish to be required to respond to a Rule 11 motion while Plaintiff Areu still has
       time to cure the issues raised therein.

      Counsel for defendants Fox News Network, LLC, Sean Hannity, Tucker Carlson, and
       Howard Kurtz (the “Fox News Defendants”) take the position that the time to respond to
       the Rule 11 Notice remains Friday, August 28, 2020 (which is also the date of the initial
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                   conference) as to Plaintiff Areu and her counsel Wigdor LLP, opposes the withdrawal of
                   Wigdor LLP as counsel to Plaintiff Areu to the extent that the withdrawal seeks to
                   exculpate Wigdor LLP from sanctions for conduct that occurred while it was counsel to
                   Plaintiff Areu, and takes the position that should Plaintiff Areu’s claims not be withdrawn
                   by Friday, Fox News Defendants’ Rule 11 motion should be ruled upon to avoid discovery
                   on meritless claims. Further, as indicated in the Case Management Plan, Fox News
                   Defendants take the position that no discovery should take place on any claims pending
                   disposition of their planned Motion to Dismiss.

                  Counsel for Defendant Henry agrees that Fox News Defendants’ Rule 11 motion should
                   go forward as scheduled, does not consent to Plaintiff Areu’s request for an extension of
                   time, and believes there is no basis for discovery to be delayed. They take the position that
                   Mr. Henry has had his reputation destroyed and it is imperative that discovery go forward
                   so he can clear his name as soon as possible. To the extent the Court allows Plaintiff Areu’s
                   extension to September 11, 2020, to file an amended complaint, then Defendant Henry
                   would agree to extend the due dates for initial disclosures, document requests and
                   interrogatories, but only until September 11, 2020. Defendant Henry’s position is that
                   Plaintiff Areu should know in sufficient time before September 11, 2020 if she intends to
                   amend the complaint and, if so, should have time to draft the initial disclosures and
                   discovery requests and serve them by September 11, 2020. Defendant Henry does not
                   agree to an extension of any other deadline.

                Undersigned counsel intends to participate in the status conference that the Court has
         scheduled for August 28, 2020 to address these and any other potential concerns. Should Your
         Honor require any additional information or documentation, please do not hesitate to contact us.


Application granted in part. Plaintiff shall file her    Respectfully submitted,
amended complaint, or response to the Rule 11
Notice, no later than September 11, 2020. By
separate order, the Court will grant Plaintiff Cathy
                                                         VALLI KANE & VAGNINI LLP
Areu's motion to substitute counsel. All further
scheduling issues will be addressed at Friday's          /s/ Matthew L. Berman
                                                         MATTHEW L. BERMAN
initial conference.
                                                         JAMES A. VAGNINI
SO ORDERED.                                              SARA WYN KANE
                                                         MONICA HINCKEN
                                                         Attorneys for Plaintiff Cathy Areu
____________________
                                                         600 Old Country Road, Suite 519
Ronnie Abrams, U.S.D.J.                                  Garden City, New York 11530
8/26/2020                                                516-203-7180

         cc:       All counsel of record (via ECF).

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